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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

United States of America

     v.                                    2:19-cr-81 (2)
                                           Chief Judge Marbley

Karina Benitez

                                    ORDER
     There being no objections, the Court hereby adopts the Report
and Recommendation of the Magistrate Judge (ECF No. 73) that the
defendant’s guilty plea be accepted.                The Court accepts the
defendant’s plea of guilty to Count 1 of the Indictment, and she is
hereby adjudged guilty on this count.            The Court will defer the
decision of whether to accept the plea agreement until the sentencing
hearing.


Date: March 9, 2020                    s\Algenon L. Marbley
                                  Algenon L. Marbley
                                  Chief United States District Judge
